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13
                              UNITED STATES DISTRICT COURT
14
                    FOR THE CENTRAL DISTRICT OF CALIFORNIA
15
                                   WESTERN DIVISION
16
17
   CIVIL RIGHTS EDUCATION
18 AND ENFORCEMENT CENTER,
   AL OTRO LADO and TEXAS CIVIL
19 RIGHTS PROJECT,              Case No. 2:24-cv-03815
20              Plaintiffs,                   COMPLAINT FOR INJUNCTIVE
                                              RELIEF
21                     v.
22   U.S. CUSTOMS AND BORDER
     PROTECTION,
23
                Defendant.
24
25
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 1          1.     This is an action seeking to compel U.S. Customs and Border Protection
 2   (“CBP”), a component of the U.S. Department of Homeland Security (“DHS”), to
 3   comply with the Freedom of Information Act (“FOIA”), 5 U.S.C. § 552, et seq.
 4   Defendant CBP has failed to abide by FOIA’s statutory deadlines with respect to
 5   Plaintiffs’ request concerning the implementation of the CBP One application and its
 6   impact on asylum seekers with disabilities.
 7          2.     CBP operates its CBP One application as a gatekeeper for individuals and
 8   families waiting at the United States-Mexico border for the opportunity to seek asylum. 1
 9          3.     Asylum seekers can ostensibly use the application to pre-schedule an
10   appointment for processing at a port of entry (“POE”) with CBP. If the asylum seeker
11   can successfully schedule an appointment, CBP performs background checks and sets
12   an interview date for further vetting.2 If CBP officials are satisfied that the asylum seeker
13   is not a national security threat or public safety risk, the asylum seeker is allowed into
14   the United States to await the opportunity to present their asylum claim to an adjudicator.
15          4.     The Biden Administration touts CBP One as part of its strategy to create
16   “orderly” pathways to apply for asylum, but this strategy also penalizes asylum seekers
17   who cross the border between ports of entry. 3
18          5.     In May of 2023, DHS issued a regulation restricting asylum eligibility to
19   those cases in which an applicant successfully scheduled and attended a CBP One
20   appointment, or applied for asylum in another country on their journey to the United
21   States. See 8 C.F.R. § 208.33(a). The regulation also provides that, an asylum seeker
22   who “demonstrates by a preponderance of the evidence that it was not possible to access
23   or use the DHS scheduling system due to language barrier, illiteracy, significant
24
     1
25     Julie Watson and Gisela Saloman, Asylum-seekers say joy over end of Title 42 turns to anguish
     induced by new US rules, Associated Press, May 28, 2023, https://apnews.com/article/border-asylum-
26   rules-immigration-title-42-biden-e77b4730682d889a2376b868c2fcac18.
     2
       Camilo Montoya-Galvez, Migrants in Mexico have used CBP One app 64 million times to request
27   entry into U.S., CBS News, Feb. 12, 2024, https://www.cbsnews.com/news/immigration-cbp-one-app-
28   migrants-mexico-64-million/.
     3
       Id.
                                                      2
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 1   technical failure, or other ongoing and serious obstacle” or that they “[f]aced an acute
 2   medical emergency” remains eligible. 8 C.F.R. § 208.33(a)(2)(ii)(B), (a)(3)(i)(A).
 3   However, implementation of this exception has been inconsistent and lacks a defined
 4   procedure and has not been effectively communicated to the public.
 5          6.      Asylum seekers, nongovernmental organizations, and Members of
 6   Congress report a myriad of problems with CBP One, including glitches and
 7   inaccessibility for groups of especially vulnerable asylum seekers. 4
 8          7.      CBP One requires a smartphone and a high level of technological
 9   proficiency to install and use. The application is prone to frequent glitches and other
10   technical issues.5
11          8.      CBP One is also language-limited. The application contains only three
12   language options - English, Spanish and Haitian Creole.6
13          9.      CBP One requires users to take “selfies” and submit them using the
14   application. CBP One’s facial recognition technology often has difficulty recognizing
15   darker features and complexions. 7
16          10.     CBP One is difficult to use or inaccessible to certain asylum seekers with
17   disabilities.8 One asylum seeker with a disability that caused his hands to seize was
18   4
       See e.g., Letter from Congressman Jesús G. “Chuy” García et al. to Secretary Alejandro Mayorkas,
19   Mar. 13, 2023, https://castro.house.gov/imo/media/doc/cbponeletter_final.pdf; NETWORK Lobby for
     Catholic Social Justice et. al, CBP ONE: The Latest Roadblock to Asylum in the United States, Aug. 31,
20   2023, https://networklobby.org/wp-content/uploads/2023/08/CBPOneReportFINAL83123.pdf; Watson,
21   note 1, supra.
     5
        Lauren Villagran, An abandoned building that became waiting room to US for migrants, El Paso
22   Times, Apr. 10, 2023, https://www.elpasotimes.com/story/news/2023/04/10/migrants-in-juarez-use-
     cbp-one-to-seek-exception-to-title-42-expulsion/70077647007/.
23   6
       Suzanne Monyak, House Democrats call to improve border appointment app, Roll Call, Mar. 14,
     2023, https://rollcall.com/2023/03/14/house-democrats-call-to-improve-border-appointment-app/.
24   7
       See e.g., Valerie Gonzalez, Improvements to CBP app for asylum seekers amplifies access, My RGV,
25   Apr. 1, 2023, https://myrgv.com/featured/2023/04/01/improvements-to-cbp-app-for-asylum-seekers-
     amplifies-access/; Garcia, note 4, supra.
26   8
       See e.g., Young Center for Immigrant Children's Rights, Disability Justice at the Border, Jul. 31, 2023,
     https://theyoungcenter.medium.com/disability-justice-at-the-border-3f442f2664ba; National
27   Immigration Project and Together and Free, FACING AN IMPOSSIBLE CHOICE Experiences of
     Asylum Seekers in Matamoros and Reynosa Two Months into the Biden Asylum Ban, Jul. 24, 2023,
28
                                                                           (footnote cont’d on next page)
                                                         3
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 1   unable to use the application to schedule an appointment. 9 Another had difficulty getting
 2   CBP One to accept her photograph because of partial paralysis in her face.10 Many
 3   asylum seekers with vision impairments have been unable to use the application.11
 4          11.    Section 504 of the Rehabilitation Act prohibits discrimination on the basis
 5   of disability in federal programs or activities conducted by any executive agency,
 6   including DHS. Under Section 504, persons with disabilities should not be “excluded
 7   from participation in, be denied the benefits of, or be subjected to discrimination” in any
 8   federal program or activity receiving federal financial assistance. 29 U.S.C. § 794(a).
 9   CBP One constitutes a program or activity of DHS because it is part of CBP operations
10   and asylum processing for POEs.12 29 U.S.C. § 794(a-b).
11          12.    Section 508 of the Rehabilitation Act requires agencies to make electronic
12   and information technology accessible to employees and members of the public who
13   have disabilities in a way that is comparable to those without disabilities. 29 U.S.C. §
14   798.
15          13.    Seeking to better understand CBP’s compliance with Sections 504 and 508
16   with respect to CBP One, Plaintiffs requested records from CBP pursuant to FOIA on
17   March 12, 2024. See Exhibit 1.
18          14.    Plaintiffs also notified CBP of its obligations to post directives regarding
19   its CBP One technology accessibility policies to their online reading rooms.
20
21   https://nipnlg.org/sites/default/files/2023-07/2023_Facing-An-Impossible-Choice.pdf; José Ignacio
     Castañeda Perez, This family fled Mexico and sought asylum through an app. Not everyone is so lucky,
22   Arizona Republic, Feb. 1, 2023, https://www.azcentral.com/story/news/politics/border-
     issues/2023/02/01/cbp-one-app-allows-migrant-family-request-asylum/698560980.
23   9
       See Compl., Al Otro Lado v. Mayorkas, ¶ 80, No. 3:23-cv-01367-AGS-BLM, ECF. No. 1 (S.D. Cal.,
     July 27, 2023).
24   10
        Id.
     11
25      Id.; NETWORK, note 4, supra at 29.
     12
        Circumvention of Lawful Pathways, 88 Fed. Reg. 31314, 31317 (May 16, 2023), (“In addition, once
26   the Title 42 public health Order is terminated, the United States will expand implementation of the CBP
     One mobile application (“CBP One app”), an innovative mechanism for noncitizens to schedule a time
27   to arrive at POEs along the SWB, to allow an increasing number of migrants who may wish to claim
28   asylum to request an available time and location to present and be inspected and processed at certain
     POEs, in accordance with operation limitations at each POE.”).
                                                       4
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 1           15.   CBP has not issued any substantive response to Plaintiffs’ request and
 2   notification as required by FOIA.
 3                               JURISDICTION AND VENUE
 4           16.   This Court has subject matter jurisdiction over this action pursuant to 28
 5   U.S.C. § 1331 and 5 U.S.C. § 552(a)(4)(B), (a)(6)(C)(i), (a)(6)(E)(iii).
 6           17.   This Court has jurisdiction to grant declaratory and further necessary or
 7   proper relief pursuant to 5 U.S.C. § 552(a)(4)(B), (a)(6)(E)(iii), and 28 U.S.C. § 2201–
 8   2202.
 9           18.   Venue is proper within this district under 5 U.S.C. § 552(a)(4)(B) and 28
10   U.S.C. §§ 1391(e)(1).
11                                           PARTIES
12           19.   The Civil Rights Education and Enforcement Center (“CREEC”) is a non-
13   profit nationwide civil rights membership organization based in Denver, Colorado.
14   CREEC’s mission includes, among other purposes, ensuring that persons with
15   disabilities participate in our nation’s civic life without discrimination.
16           20.   Plaintiff Al Otro Lado (“AOL”) is a non-profit, non-partisan, binational
17   advocacy and legal services organization incorporated in California and based in Los
18   Angeles. AOL’s mission is to uplift immigrant communities by defending the rights of
19   migrants against systemic injustices and fighting for all families that have been torn apart
20   by unjust immigration laws. AOL prioritizes providing holistic legal and humanitarian
21   support to refugees and other migrants through a multidisciplinary, client-centered, harm
22   reduction-based practice. AOL documents human rights violations committed by U.S.
23   and Mexican government officials against refugees at the U.S.-Mexico border, which
24   provides a basis for public education and advocacy with U.S. policy makers and
25   international human rights bodies.
26           21.   Plaintiff Texas Civil Rights Project (“TCRP”) is a non-profit and
27   nonpartisan organization committed to ensuring civil rights and the protection of law
28   within Texas. TCRP publishes press releases, opinion pieces, reports, and policy papers.
                                                   5
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 1   It disseminates information through its website, txcivilrights.org and social media
 2   accounts.
 3         22.      Defendant CBP is an agency within the meaning of 5 U.S.C. § 552(1)(f).
 4   CBP has been delegated authority to administer certain provisions of the Immigration
 5   and Nationality Act, including those relating to apprehension and processing of
 6   noncitizens who enter the United States at or between ports of entry. CBP has possession,
 7   custody, and control of records responsive to Plaintiffs’ FOIA request.
 8                                             FACTS
 9         23.      On March 12, 2024, Plaintiffs submitted a FOIA request to CBP seeking
10   production of the following records pursuant to 5 U.S.C § 552(a)(3):
11               1. All CBP directives, policies, or memoranda concerning compliance with or
                    interpretation or implementation of Section 508 of the Rehabilitation Act
12                  including, but not limited to, CBP Directive 5510-040A, Electronic and
                    Information Technology Accessibility under Section 508 of the
13                  Rehabilitation Act.
14               2. All compliance reviews concerning CBP One application compliance with
                    the Rehabilitation Act of 1973 and all associated Compliance Determination
15                  Forms.
16               3. All communications sent or received by CBP officials between January 1,
                    2023, and the date that CBP conducts this search concerning any CBP One
17                  disability access issues containing the keywords “@alotrolado.org” and
                    “disability.”
18
                 4. All CBP policies, memoranda, procedures, musters, standards, operations
19                  orders, reports, training materials, and other guidance concerning:
                       a. Access to and use of the CBP One application for individuals with
20                        disabilities;
                       b. Accommodations for individuals with disabilities;
21                     c. Determinations of whether CBP should grant an exception to any
                          requirement to the CBP One process because of disability or medical
22                        need.
23         24.      CBP assigned this request tracking number CBP-FO-2024-073432.
24         25.      To date, CBP has not communicated with Plaintiffs about the status of its
25   search for documents responsive to request CBP-FO-2024-073432 or the scope of the
26   documents it intends to produce and withhold.
27         26.      Plaintiffs also sought expedited processing of their request, arguing that it
28   concerns “[a] matter of widespread and exceptional media interest in which there exist
                                                    6
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 1   possible questions about the government’s integrity which affect public confidence.” 6
 2   C.F.R. § 5.5(e)(1)(iv). In support, Plaintiffs cited six news articles and reports in which
 3   asylum seekers, advocates, and Members of Congress raised accessibility concerns about
 4   CBP One.
 5          27.    To date, CBP has not communicated with Plaintiffs about any decision or
 6   determination responsive to Plaintiffs’ CBP-FO-2024-073432 expedited processing
 7   request.
 8          28.    Plaintiffs’ request also notified CBP that it must post any final opinions,
 9   policies, interpretations, and administrative staff manuals and instructions concerning
10   Technology Accessibility policies for persons with disabilities on its online reading room
11   pursuant to 5 U.S.C § 552(a)(2)(A)-(C).
12          29.    In support of their notification, Plaintiffs cited publicly available DHS
13   documents that reference and infer the existence of final opinions, policies,
14   interpretations, and administrative staff manuals and instructions not available on CBP’s
15   online reading room. 13
16          30.    To date, CBP has not posted any responsive final opinions, policies,
17   interpretations, and administrative staff manuals and instructions to its online FOIA
18   reading room.
19
                                   CLAIMS FOR RELIEF
20                        COUNT I: Violation of 5 U.S.C. § 552(a)(2)
                    Failure to Make Records Available for Public Inspection
21
            31.    Plaintiffs re-allege and incorporate by reference all allegations in the
22
     foregoing paragraphs as if fully set forth herein.
23
24   13
        See U.S. Customs and Border Protection (“CBP”), Disability Access Plan for Public-Facing
25   Programs and Activities at 8, Jun. 19, 2019, https://www.dhs.gov/sites/default/files/publications/cbp-
     disability- access-plan.pdf; Dep’t of Homeland Sec’y, Management Directive 4010.2: Section 508
26   Program Management Office & Electronic and Information Technology Accessibility at 7, Oct. 26,
     2005,
27   https://www.dhs.gov/sites/default/files/publications/07.%20MD%204010.2%20Section%20508%20Pro
28   gram%20Management%20Office%20and%20Electronic%20and%20Information%20Technology%20
     Accessibility.pdf.
                                                       7
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 1         32.    FOIA requires publication of certain agency records, including all final
 2   agency opinions and orders, policies, and interpretations not otherwise published in the
 3   Federal Register, and administrative staff manuals and instructions. 5 U.S.C. §
 4   552(a)(2)(A)-(C).
 5         33.    CBP violated FOIA by failing to publish any agency opinions, orders,
 6   policies, interpretations, administrative staff manuals, or instructions regarding disability
 7   access to their online FOIA reading rooms.
 8
                      COUNT II: Violation of 5 U.S.C. § 552(a)(6)(A)(i)
 9                Failure to Make and Communicate Timely Determination
10         34.    Plaintiffs re-allege and incorporate by reference all allegations in the
11   foregoing paragraphs as if fully set forth herein.
12         35.    FOIA requires agencies to issue determinations and communicate those
13   determinations to requesters within twenty working days of receiving the request. 5
14   U.S.C. § 552(a)(6)(A)(i).
15         36.    Agencies may extend the deadline an additional ten days in “unusual
16   circumstances.” 5 U.S.C. § 552(a)(6)(B)(i).
17         37.    To properly issue a determination, agencies must at a minimum “inform the
18   requester of the scope of the documents it will produce and the exemptions it will claim
19   with respect to any withheld documents.” Citizens for Resp. & Ethics in Washington v.
20   Fed. Election Comm'n, 711 F.3d 180, 185 (D.C. Cir. 2013).
21         38.    CBP violated FOIA by failing to make the required determinations and to
22   communicate those determinations to Plaintiffs within the designated timeframe.
23
                         COUNT III: Violation of 5 U.S.C. § 552(a)(3)(C)
24                          Failure to Conduct Adequate Search
25         39.    Plaintiffs re-allege and incorporate by reference all allegations in the
26   foregoing paragraphs as if fully set forth herein.
27         40.    Under the FOIA, agencies must respond to a FOIA request by making
28   reasonable efforts to search for the records requested. 5 U.S.C. § 552(a)(3)(C).
                                                   8
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 1          41.    CBP violated FOIA by failing to conduct a reasonable search for records
 2   responsive to Plaintiffs’ request.
 3
                         COUNT IV: Violation of 5 U.S.C. § 552(a)(4)(B)
 4                         Unlawful Withholding of Agency Records
 5          42.    Plaintiffs re-allege and incorporate by reference all allegations in the
 6   foregoing paragraphs as if fully set forth herein.
 7          43.    Agencies may withhold records only under the specifically enumerated
 8   FOIA exemptions. 5 U.S.C. § 552(a)(4)(B).
 9          44.    CBP violated FOIA by unlawfully withholding records responsive to the
10   Plaintiffs’ request other than those that FOIA has exempted.
11
                          COUNT V: Violation of 5 U.S.C. § 552(a)(3)(A)
12                         Failure to Make Records Promptly Available
13          45.    Plaintiffs re-allege and incorporate by reference all allegations in the
14   foregoing paragraphs as if fully set forth herein.
15          46.    Agencies must promptly produce records responsive to the properly filed
16   FOIA request. 5 U.S.C. § 552(a)(3).
17          47.    Plaintiffs have a legal right to obtain such records, and no legal basis exists
18   for CBP’s failure to disclose them.
19          48.    CBP violated FOIA by failing to produce any records responsive to
20   Plaintiffs’ FOIA request.
21
                        COUNT VI: Violation of 5 U.S.C. § 552(a)(6)(E)
22                    Failure to Make Expedited Processing Determination
23          49.    Plaintiffs re-allege and incorporate by reference all allegations in the
24   foregoing paragraphs as if fully set forth herein.
25          50.    Agencies must issue a determination regarding whether to provide
26   expedited processing within ten days of receiving the request. 5 U.S.C §
27   552(a)(6)(E)(ii)(I), (iii).
28          51.    CBP violated FOIA by failing to issue a timely determination in response
                                                   9
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 1   to Plaintiffs’ request for expedited processing of Plaintiffs’ FOIA request.
 2                                  REQUEST FOR RELIEF
 3         WHEREFORE, Plaintiffs respectfully request that this Court:
 4                1.    Assume jurisdiction over the matter;
 5                2.    Order CBP to publish all final agency opinions and orders, policies,
 6         and interpretations not otherwise published in the Federal Register, and
 7         administrative   staff manuals      and    instructions   concerning Technology
 8         Accessibility for persons with disabilities in compliance with Sections 504 and
 9         508, and CBP One in accordance with 5 U.S.C. § 552(a)(2)(A)-(C);
10                3.    Order CBP to issue determinations responsive to Plaintiffs’ request
11         in accordance with 5 U.S.C. § 552(a)(6)(A)(i), (B)(i).
12                4.    Order CBP to conduct prompt and adequate searches for all records
13         responsive to Plaintiffs’ request in accordance with 5 U.S.C. § 552(a)(3)(C);
14                5.    Enjoin CBP from continuing to improperly withhold records
15         responsive to the Plaintiffs’ request in accordance with 5 U.S.C. § 552(a)(3)(A);
16                6.    Order CBP to issue a determination responsive to Plaintiffs’ request
17         for expedited processing of request CBP-FO-2024-073432 in accordance with 5
18         U.S.C. § 552(a)(6)(E)(ii)(I);
19                7.    Order CBP to produce, within twenty (20) days of the Court’s order,
20         or by such other date as the Court deems appropriate, all non-exempt records or
21         portions of records responsive to Plaintiffs’ request and any agency justifications
22         for withholding any responsive records;
23                8.    Award Plaintiffs reasonable costs and attorneys’ fees pursuant to 5
24         U.S.C. § 552(a)(4)(E);
25                9.    Award Plaintiffs such further relief as the Court deems just,
26         equitable, and appropriate.
27   Dated: May 8, 2024
28
                                                 10
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